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                              EXHIBIT 11
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Product sheet




Credit Profile Report
Precise data. Unsurpassed file coverage.


You can’t make the best decisions if you don’t have the best information. That’s where we come in.
With Experian’s Credit Profile Report, you get everything you need to deliver the most profitable
results. Accurate, current, complete data — and the peace of mind that comes with it.

Unparalleled accuracy. Superior data quality.              • E
                                                              asy to read — Our format groups similar data
Comprehensive profile information on more than               elements together for faster analysis.
220 million credit-active consumers. Experian’s            • Flexible — You can choose your display format.
Credit Profile Report gives you what you need to:
                                                           Our industry leading match logic ensures more complete
• A
   cquire new business — Make decisions about new
                                                           files and more accurate hit rates, saving you time and
  customers and new accounts quickly and accurately.
                                                           money by eliminating multiple inquiries and manual
• M
   anage customers — Monitor, evaluate and                searches for data. Take a look at a sample Credit Profile
  make decisions based on real-time updates to             Report on the following pages.
  customer profiles.
• Maximize collections — Identify potential fraud and     Credit Profile Report
   take action where your recovery chances are greatest.   Files on nearly 220 million credit-active consumers
                                                           nationwide are maintained in the Experian database. Your
Harness the power of File OneSM                            inquiry initiates a search of this database that produces
With Credit Profile Report, you gain unique access to      an applicant’s credit history — the Credit Profile Report.
the data from Experian’s File OneSM — the most             An illustration and description of a sample Profile Report
comprehensive nationwide credit database available.        follows.
• Complete — File One holds current credit information
   on more than 220 million credit-active consumers.
• Accurate — High-integrity, current information.




      CONFIDENTIAL                                                                       SANTOS-EXP002903
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    Product sheet
    Credit Profile Report



                                                  Inquiry Sample
       TCA1
       RTS 3122250X1J CONSUMER,JONATHAN QUINCY 999999990;
       CONSUMER,NANCY CHRISTINE 123456789;
       CA-10665 NORTH BIRCH STREET/BURBANK CA 91502, PH-714.555.1111, DL-CA 9876543;
       PA-1314 SOPHIA LANE APT #3/SANTA ANA CA 92708-5678, Y-1976, T-04048060;
       E-AJAX HARDWARE/2035 BROADWAY SUITE 300/LOS ANGELES CA 90019



                                               Credit Profile Report
A      TCA1

       RTS1234567ABC			CONSUMER,JONATHAN
                    A
                    a                    QUINCY		999999990;
                                                b                                            c

       CONSUMER,NANCY CHRISTINE		          123456789; d

       CA-10665 NORTH BIRCH STREET/BURBANK CA 91502, e             PH-714.555.1111, f   DL-CA 9876543; g

       PA-1314 SOPHIA LANE APT #3/SANTA ANA CA 92708-5678, h              Y-1976, i     T-04048060;   j

       E-AJAX HARDWARE/2035 BROADWAY SUITE 300/LOS ANGELES CA 90019 k
        CONSUMER, JONATHAN QUINCY 999999990;CA-10665 NORTH BIRCH STREET/BURBANK CA 91502
          CONSUMER, JONATHAN QUINCY 999999990;CA-10665 NORTH BIRCH STREET/BURBANK CA 91502

          PAGE 1    DATE   5-03-2017   TIME 13:14:37     V501      TCA1
          PAGE 1    DATE   5-03-2017   TIME 13:14:37     V501      TCA1   1

      2        JONATHAN QUINCY CONSUMER              6 SS: XXX-XX-XXXX 8 E: AJAX HARDWARE
               10655
               JONATHAN   N BIRCH
                             QUINCYSTCONSUMER           SS: XXX-XX-XXXX*
                                                            XXX-XX-XXXX       2035  BROADWAY
                                                                              E: AJAX          SUITE 300
                                                                                        HARDWARE
               BURBANK
               10655        CA 91502-1234
                          N BIRCH  ST                       XXX-XX-XXXX*
                                                            XXX-XX-XXXX*      LOS ANGELES
                                                                              2035  BROADWAY CASUITE
                                                                                                90019300
               RPTD: 4-10
               BURBANK         TO 1-16 U 3X
                            CA 91502-1234            7 DOB:XXX-XX-XXXX*
                                                             4/29/1976        RPTD:
                                                                              LOS     6-15 I
                                                                                   ANGELES   CA 90019
               LAST
               RPTD:SUB:  4-101220855
                               TO 1-16 U3 3X            DOB: 4/29/1976        RPTD: 6-15 I
               LAST SUB: 1220855                                          9 E: BELL AUTOMOTIVE
B       4      1314 SOPHIA LN APT 3                                           111BELL
                                                                              E:   MAINAUTOMOTIVE
                                                                                         STREET
               SANTA
               1314 SOPHIAANA CALN92708-5678
                                    APT 3                                     BURBANK
                                                                              111  MAINCA   91503
                                                                                         STREET
               RPTD: ANA
               SANTA      1-07CA
                               U 92708-5678
                                   1X                                         RPTD:
                                                                              BURBANK5-06
                                                                                        CA TO  11-13 I
                                                                                            91503
               RPTD: 1-07 U 1X                                                RPTD: 5-06 TO 11-13 I
       5 *2600 BOWSER ST #312
               LOS ANGELES
             *2600      BOWSER CAST 90017-9876
                                    #312
               RPTD:
               LOS ANGELES9-05 ICA 90017-9876
               RPTD: 9-05 I
      10 *JACK CONSUMER, JOHN SMITH, JONATHAN SMITH JONES JR
             *JACK CONSUMER, JOHN SMITH, JONATHAN SMITH JONES JR
             -------------------------------- DEMOGRAPHICS ---------------------------------
C              PH: 818.555.1111 UR
             --------------------------------       PH:DEMOGRAPHICS
                                                        706.555.9876---------------------------------
                                                                     IB             PH: 213.555.1234 UB
               GEO:     35 123 456789
               PH: 818.555.1111       UR0 1234      PH: 706.555.9876 IB             PH: 213.555.1234 UB
               GEO: 35 123 456789 0 1234
               --------------------------- FRAUD SHIELD SUMMARY -----------------------------
               INPUT      SSN RECORDED AS DECEASED
               ---------------------------                       INQ: PHONE
                                                  FRAUD SHIELD SUMMARY         ANSWERING SERVICE:
                                                                         -----------------------------
    Page 2 | Product sheet
               DOB: 4-29-1976
               INPUT                DOD:AS
                          SSN RECORDED    3-30-2014
                                            DECEASED                    ABC ANSWER-ALL
                                                                 INQ: PHONE    ANSWERING SERVICE:
              CONFIDENTIAL
               INPUT      SSN ISSUED
               DOB: 1-10-1976         1975-1976
                                    DOD:  3-30-2014                     10655
                                                                        ABC    N BIRCH SANTOS-EXP002904
                                                                            ANSWER-ALL   ST
               TELEPHONE
               INPUT          NUMBER 1975-1976
                          SSN ISSUED  INCONSISTENT W/ADDRESS            BURBANK
                                                                        10655 N CA   91502
                                                                                  BIRCH  ST
               FROM 12-01-15 INQ COUNT FOR SSN=5                        818.555.1212
Case 1:19-cv-23084-KMW Document 65-12 Entered on FLSD Docket 09/28/2020 Page 4 of 9

                                                                                                                Product sheet
                                                                                                Credit Profile Report


Inquiry (A)                                                     3.  Last subscriber reporting the consumer at his or her
a. Subscriber number and password.                                    current address.
b. Consumer’s name.                                             4.  Consumer’s previous addresses (up to 2) with source,
c. Social Security number (SSN).                                      in order by reliability of source.
d. Spouse’s name and SSN.
                                                                5.  A
                                                                      n asterisk preceding any address indicates the
e. Current address.
                                                                     address did not match inquiry address.
f. Telephone number.
g. Driver’s license number.                                     6.  Consumer’s Social Security number and other Social
h. Previous address.                                                 Security numbers reported on the consumer’s file, in
i. Year of birth.                                                    descending order based on number of occurrences
j. Type of terms and amount.                                         reported; asterisk denotes any SSN not matching
k. Employment.                                                       inquiry input SSN.
                                                                7. Consumer’s year of birth or date of birth.
Reminder: To ensure compliance with the Fair Credit
Reporting Act, reasonable care should be taken to input         8. E
                                                                    mployer’s name and address, including time frame
accurate identification belonging to the consumer when             reported and source.
requesting services.                                               U = Update tape.
                                                                   I = Inquiry.
Consumer Identifying Information (B)                            9.  P
                                                                      revious employer’s name and address, with time
1.  A code that identifies the Experian or credit reporting        frame reported and source.
      agency office nearest to the consumer’s current           10. Alternate names such as different, previous surnames
      address. Used for consumer referrals.                          or nicknames associated with the consumer’s file.
2.  C
      onsumer’s name and address, including time frame
     reported, source and number of subscribers reporting       Demographics (C)
     the address.                                               Demographics contains the consumer’s telephone
     U = Update tape                                            number (including source and phone type):
     I = Inquiry                                                R = Residential.
     M = Manual data                                            C = Cellular.
     P = PDS — Experian’s proprietary data source               P = Pager.
                                                                Also includes GEO code of the current address.




                                                                                                            Product sheet | Page 3

       CONFIDENTIAL                                                                            SANTOS-EXP002905
          LOS ANGELES
          *2600    BOWSER CA
                           ST 90017-9876
                               #312
          LOS ANGELES CA 90017-9876
          RPTD:    9-05 I CA 90017-9876
            LOS ANGELES
     CaseRPTD:     9-05 I
            1:19-cv-23084-KMW
            RPTD: 9-05 I
                                    Document 65-12 Entered on FLSD Docket 09/28/2020 Page 5              of 9
         *JACK CONSUMER, JOHN SMITH, JONATHAN SMITH JONES JR
         *JACK
    Product sheet CONSUMER, JOHN SMITH, JONATHAN SMITH JONES JR
          *JACK CONSUMER, JOHN SMITH, JONATHAN SMITH JONES JR
    Credit  Profile Report
         --------------------------------     DEMOGRAPHICS ---------------------------------
         -------------------------------- DEMOGRAPHICS ---------------------------------
          PH: 818.555.1111 UR
          --------------------------------PH: DEMOGRAPHICS
                                               706.555.9876 ---------------------------------
                                                              IB        PH: 213.555.1234 UB
          PH: 818.555.1111 UR             PH: 706.555.9876 IB           PH: 213.555.1234 UB
          GEO:    35 123 456789UR0 1234
            PH: 818.555.1111               PH: 706.555.9876 IB           PH: 213.555.1234 UB
          GEO: 35 123 456789 0 1234 Credit Profile Report (continued)
            GEO: 35 123 456789 0 1234
         --------------------------- FRAUD SHIELD SUMMARY -----------------------------
         --------------------------- FRAUD SHIELD SUMMARY -----------------------------
         INPUT  SSN RECORDED AS DECEASED
          ---------------------------                      INQ: PHONE
                                           FRAUD SHIELD SUMMARY          ANSWERING SERVICE:
                                                                     -----------------------------
         INPUT SSN RECORDED AS DECEASED                    INQ: PHONE ANSWERING SERVICE:
         DOB:
          INPUT4-29-1976  DOD: AS
                 SSN RECORDED   3-30-2014
                                   DECEASED                 INQ: ABC   ANSWER-ALL
                                                                   PHONE  ANSWERING SERVICE:
         DOB: 4-29-1976 DOD: 3-30-2014                            ABC ANSWER-ALL
         INPUT  SSN ISSUEDDOD:
          DOB: 1-10-1976     1975-1976
                                 3-30-2014                        10655  N BIRCH ST
                                                                   ABC ANSWER-ALL
         INPUT SSN ISSUED 1975-1976                               10655 N BIRCH ST
         TELEPHONE
          INPUT SSN NUMBER
                     ISSUED INCONSISTENT
                              1975-1976      W/ADDRESS            BURBANK
                                                                   10655 N CA  91502
                                                                            BIRCH  ST
         TELEPHONE NUMBER INCONSISTENT W/ADDRESS                  BURBANK CA 91502
         FROM  12-01-15
          TELEPHONE      INQ INCONSISTENT
                     NUMBER   COUNT FOR SSN=5 W/ADDRESS           818.555.1212
                                                                   BURBANK CA 91502
D        FROM 12-01-15 INQ COUNT FOR SSN=5                        818.555.1212
         FROM
          FROM 12-01-15
                12-01-15 INQ
                          INQ COUNT
                               COUNT FOR
                                      FOR ADDRESS=15
                                           SSN=5                   818.555.1212
         FROM 12-01-15 INQ COUNT FOR ADDRESS=15
          FROM 12-01-15 INQ COUNT FOR ADDRESS=15           FILE: COMMERCIAL BUSINESS ADDRESS:
                                                           FILE: COMMERCIAL BUSINESS ADDRESS:
                                                            FILE: J&J  INVESTMENTS
                                                                   COMMERCIAL   BUSINESS ADDRESS:
                                                                  J&J INVESTMENTS
                                                                  2600  BOWSER  STREET #312
                                                                   J&J INVESTMENTS
                                                                  2600 BOWSER STREET #312
                                                                  LOS
                                                                   2600ANGELES
                                                                         BOWSER CA 90017#312
                                                                                 STREET
                                                                  LOS ANGELES CA 90017
                                                                  213.555.2222
                                                                   LOS ANGELES CA 90017
                                                                  213.555.2222
                                                                   213.555.2222
         ------------------------------ PROFILE SUMMARY -------------------------------
         ------------------------------ PROFILE SUMMARY -------------------------------
                                                                                   CNT 05/03/05/23
          ------------------------------ PROFILE SUMMARY -------------------------------
                                                                                   CNT 05/03/05/23
         PUBLIC RECORDS-------3 PAST DUE AMT----$3,644 INQUIRIES---3 SATIS                ACCTS---6
                                                                                    CNT 05/03/05/23
E        PUBLIC RECORDS-------3 PAST DUE AMT----$3,644 INQUIRIES---3 SATIS ACCTS---6
         INSTALL  BAL----$27,750 SCH/EST
          PUBLIC RECORDS-------3      PAST DUEPAY-----$1,327
                                                 AMT----$3,644 INQS/6     MO---3 NOW
                                                                   INQUIRIES---3        DEL/DRG---2
                                                                                    SATIS  ACCTS---6
         INSTALL BAL----$27,750 SCH/EST PAY-----$1,327 INQS/6 MO---3 NOW DEL/DRG---2
         RINSTALL
            ESTATE BAL----$27,750
                   BAL--$263,551 RSCH/EST
                                       ESTATE PAY-----$1,327
                                                PAY----$1,887 TRADELINE--10
                                                                   INQS/6 MO---3 WASNOW DEL/DRG---2
                                                                                         DEL/DRG---2
         R ESTATE BAL--$263,551 R ESTATE PAY----$1,887 TRADELINE--10 WAS DEL/DRG---2
         REVOLVNG
          R ESTATE BAL----$2,123
                    BAL--$263,551 REVOLVNG
                                      R ESTATE AVAIL-----77%
                                                 PAY----$1,887 PAID     ACCT---1 OLD
                                                                   TRADELINE--10    WAS TRADE-12-99
                                                                                         DEL/DRG---2
         REVOLVNG BAL----$2,123 REVOLVNG AVAIL-----77% PAID ACCT---1 OLD TRADE-12-99
          REVOLVNG BAL----$2,123 REVOLVNG AVAIL-----77% PAID ACCT---1 OLD TRADE-12-99
         ------------------------------- SCORE SUMMARY --------------------------------
         ------------------------------- SCORE SUMMARY --------------------------------
F        VANTAGESCORE
          ------------------------------- SCORE     = SUMMARY
                                                       611        SCORE FACTORS: 91, 50, 12, 31
                                                                --------------------------------
         VANTAGESCORE                               = 611         SCORE FACTORS: 91, 50, 12, 31
         RSC  BANKRUPTCY PLUS
          VANTAGESCORE                              == 320
                                                        611       SCORE
                                                                   SCORE FACTORS:
                                                                          FACTORS: 84,
                                                                                     91, 60,
                                                                                          50, 91,
                                                                                               12, 57
                                                                                                    31
         RSC BANKRUPTCY PLUS                        = 320         SCORE FACTORS: 84, 60, 91, 57
          RSC BANKRUPTCY PLUS                        = 320         SCORE FACTORS: 84, 60, 91, 57
         ------------------------------   12  PUBLIC RECORDS --------------------------------
                                                                   14
                                                                   12
         ------------------------------ PUBLIC RECORDS --------------------------------
        *SO  CALIF DISTRICT COURT      6-21-13
          ------------------------------            7-01-14
                                               PUBLIC  RECORDS3011111      $12,450      CO LIEN REL
                                                                --------------------------------
        *SO CALIF DISTRICT COURT       6-21-13      7-01-14 3011111        $12,450      CO LIEN REL
     11 *SO
         C#: CALIF
              45078321
                    DISTRICT COURT         1
                                        6-21-13 BP:  B476P21093011111 15 $12,450 16 CO LIEN REL
                                                  13 7-01-14
         C#: 45078321                      1    BP: B476P2109
      17 C#: 45078321                    18 1    BP: B476P2109 19

G        *COUNTY SPR CT SANTA ANA       9-19-15                3019999     $1,200        CIV CL JUDG
          D#: 7505853                      1    PLAINTIFF:     ALLIED COMPANY 20
          BP: B1234P50987                                                           21
                                                                                    12           22
                                                                                                 12

         *U S BANKRUPTCY COURT          6-12-10     1-15-11    3009999      $129,803-L    BK 7-PETIT
          D#: 35054539906234561            2                                 $85,500-A         VOLUN

          ----------------------------------- TRADES -----------------------------------
          SUBSCRIBER                 OPEN    AMT-TYP1    AMT-TYP2 ACCTCOND   PYMT STATUS
          SUB#   KOB TYP TRM ECOA BALDATE     BALANCE PYMT LEVEL MOS REV PYMT HISTORY
                                  LAST PD   MONTH PAY    PAST DUE MAXIMUM       BY MONTH

H       *CREDIT AND COLLECTION     10-13    $1,590-O                                      COLLACCT
         3980999 YC UNK UNK    2 2-25-16    $1,590                11-13         (28) GGGG-GGGGG-GG
         98E543182136                                                        11-13/G GGGGGGGG-G--
         ORIGINAL CREDITOR: MEDICAL PAYMENT DATA a
      23 **ACCOUNT INFORMATION DISPUTED BY CONSUMER**
         **DEBT BEING PAID THROUGH INSURANCE** 24

              *ISLAND SAVINGS              3-13      $500-L        $775-H       PAID    CUR WAS 30
                1211248
    Page 4 | Product sheet BC CRC REV 2 4-20-15                    4-15         (26) BCCCCCCCCCCCC
                405855254820               4-15                                       CCC1CCCCCCCC
              CONFIDENTIAL                                                       SANTOS-EXP002906
                **ACCOUNT CLOSED AT CONSUMER'S REQUEST**
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                                                                                                                   Product sheet
                                                                                                    Credit Profile Report


Fraud ShieldSM Summary (D)                                      23. Compliance condition code reported by a subscriber
Fraud Shield Summary contains messages related
              SM                                                     to distinguish accounts that are “Closed by Consumer”
to the Fraud Shield fraud prevention services.                       and/or “Disputed Accounts.”
                                                                24. Special comments reported by a subscriber to
Profile Summary (E)                                                  distinguish accounts that may require special handling.
Profile Summary contains 17 significant calculations            25. “D” indicates the terms of the loan have been deferred
from the Credit Profile Report.                                      to a future date.
                                                                c. M
                                                                    ortgage Identification Number (MIN) for mortgage
Score Summary (F)
                                                                   tradelines.
Risk model scores are generated if you use Experian’s
credit risk models.                                             26. An asterisk preceding public record information
                                                                    or a tradeline indicates that information may need
Public Records (G)                                                  further review.
Public record information consists of bankruptcies,             27. Reporting subscriber’s name.
liens and civil actions against a consumer.
                                                                28. Reporting subscriber’s number.
11. Reporting court’s name.
                                                                29. K
                                                                     OB (Kind of Business) code describes a subscriber’s
12. Original filing date with court.                               business. The first letter designates an industry, the
13. S
     tatus date if status is satisfied, released, vacated,         second more narrowly defines a subscriber’s business.
    discharged or dismissed.                                    30. Type of account.
14. Reporting court’s subscriber number.                       31. Terms of account.
     mount of public record.
15. A                                                                ode describing consumer’s association to the account
                                                                32. C
16. Type of public record.                                         per the Equal Credit Opportunity Act.

17. Certificate ID or docket number.                            33. Consumer’s account number.

18. Code describing the consumer’s association to the          34. Date the account was opened.
     public record item per the Equal Credit Opportunity Act.   35. B
                                                                     alance date is the date of the subscriber’s reported
19. B
     ook and page number.                                          update on account.

20. Plaintiff’s name.                                          36. Date of consumer’s last payment on the account.

21. Liability and asset amounts for bankruptcies only.         37. Amount of the loan or credit established.

22. Voluntary indicator only; may display as VOLUN if          38. Indicates if the amount is an original loan (O),
    consumer voluntarily dismissed bankruptcy.                       credit limit (L), high balance (H), initial charge-off
                                                                     (C) or unknown (blank).
Trades (H) (continued on next page with sample report)          39. Current balance on the account.
Any or all of the following information may appear if           40. P
                                                                     ayment amount the consumer is scheduled to pay on
provided by a subscriber:                                           the account.
a. Original credit grantor name for third-party collection     41. Payment level date is the current status date.
   agency tradelines.
                                                                42. The amount past due for the account.
b. Balloon payment information (date and amount) or
                                                                43. The account condition indicates the current condition
   deferred payment start date for deferred loans.
                                                                     of account.

                                                                                                                Product sheet | Page 5

       CONFIDENTIAL                                                                               SANTOS-EXP002907
            405855254820
            3980999  YC
                     YC UNK
                         UNK UNK
            3980999SAVINGS   UNK       2      4-15
                                       2 2-25-16
                                           2-25-16        $1,590
                                                          $1,590            11-13
                                                                            11-13        (28)    CCC1CCCCCCCC
                                                                                         (28) GGGG-GGGGG-GG
                                                                                                GGGG-GGGGG-GG
          *ISLAND
            **ACCOUNT   CLOSED  AT            3-13REQUEST**
                                     CONSUMER'S              $500-L          $775-H      PAID       CUR WAS 30
            98E543182136
            98E543182136                                                             11-13/G
                                                                                     11-13/G     GGGGGGGG-G--
                                                                                                 GGGGGGGG-G--
            1211248
     Case ORIGINAL   BC  CRC
            1:19-cv-23084-KMWREV       2   4-20-15
                                     Document     65-12 DATA                 4-15        (26)   BCCCCCCCCCCCC
                                                             Entered on FLSD Docket 09/28/2020 Page 7              of 9
            ORIGINAL CREDITOR:
                      CREDITOR: MEDICAL
            405855254820             MEDICAL4-15PAYMENT
                                                PAYMENT DATA
            HEMLOCKS
            **ACCOUNT INFORMATION
            **ACCOUNT   INFORMATION DISPUTED  2-15
                                         DISPUTED BY      $2,000-L
                                                    BY CONSUMER**
                                                         CONSUMER**                      OPEN CCC1CCCCCCCC
                                                                                                     CURR ACCT
            **ACCOUNT
    Product 2313849
            sheet       CLOSED
                     DV ISC     AT
                             024-D   CONSUMER'S
                                       3 6-10-16    REQUEST**
                                                          $2,000             2-15        (17) NNNNNNNNNNNNN
            **DEBT
            **DEBT BEING
                    BEING  PAID
                           PAID   THROUGH
                                  THROUGH    INSURANCE**
                                             INSURANCE**
            8285103111261
    CreditHEMLOCKS
             Profile Report                                                                      NNNN
            DEFERRED  PAYMENT   START         2-15
                                          DATE;           $2,000-L
                                                 03/01/2017                              OPEN        CURR ACCT
          *ISLAND
          *ISLAND   SAVINGS                   3-13           $500-L          $775-H      PAID       CUR
                                                                                                    CUR WAS
                                                                                                         WAS 30
            2313849SAVINGS
                     DV ISC 024-D 3 6-10-16   3-13           $500-L
                                                          $2,000             $775-H
                                                                             2-15        PAID
                                                                                         (17) NNNNNNNNNNNNN   30
            1211248
            1211248  BC
                     BC  CRC
                         CRC REV
                             REV       2
                                       2   4-20-15
                                           4-20-15                           4-15
                                                                             4-15        (26)
                                                                                         (26)   BCCCCCCCCCCCC
                                                                                                BCCCCCCCCCCCC
            8285103111261
          *CENTRAL   BANK                     9-16 Profile
                                                         $21,424-O                               NNNN
                                                                                         OPEN CCC1CCCCCCCC
                                                                                                      DELINQ 30
            405855254820
            405855254820                      4-15
                                             Credit
                                              4-15           Report (continued)                  CCC1CCCCCCCC
            DEFERREDBI
            1132912   PAYMENT
                         AUT    START
                               59      1  DATE;  03/01/2017
                                           2-28-17       $19,814             2-17        (  6)  1CCCCC
            **ACCOUNT   CLOSED  AT   CONSUMER'S
            **ACCOUNT CLOSED AT CONSUMER'S REQUEST**REQUEST**
            23802654388            25
                                   12                        $400            $400
          *CENTRAL
            HEMLOCKS BANK                     9-16
                                              2-15       $21,424-O
                                                          $2,000-L                       OPEN
                                                                                         OPEN         DELINQ 30
                                                                                                     CURR
            HEMLOCKS
            1132912  BI  AUT   59      1      2-15
                                           2-28-17        $2,000-L
                                                         $19,814             2-17        OPEN
                                                                                         (  6)       CURR ACCT
                                                                                                1CCCCC      ACCT
          *MOUNTAIN
            2313849
            2313849   BANK
                     DV
                     DV  ISC
                         ISC 024-D
                             024-D     3
                                       3     10-12
                                           6-10-16
                                           6-10-16       $43,337-O
                                                          $2,000
                                                          $2,000             2-15
                                                                             2-15        OPEN
                                                                                         (17)
                                                                                         (17)      60 4+ TIMES
                                                                                                NNNNNNNNNNNNN
                                                                                                NNNNNNNNNNNNN
            23802654388
            1119999  BI SEC 60         2 4-06-16             $400
                                                          $4,346             $400
                                                                             4-16        (42) 21-1C1C111CC2
            8285103111261
            8285103111261                                                                        NNNN
                                                                                                 NNNN
       b    3562A019732534
            DEFERRED
            DEFERRED  PAYMENT
                      PAYMENT   START
                                START         2-16
                                          DATE;
                                          DATE;  03/01/2017
                                                 03/01/2017  $827          $1,654    11-13/1      2211CC211111
          *MOUNTAIN BANK                     10-12       $43,337-O                       OPEN      60 4+ TIMES
            1119999
          *BAY       BI
                 COMPANY SEC   60      2   4-06-16
                                              6-05        $4,346
                                                          $1,730-L           4-16
                                                                           $2,437-H      (42)
                                                                                       BK7PET   21-1C1C111CC2
                                                                                                       CHARGOFF
          *CENTRAL
          *CENTRAL   BANK
                     BANK                     9-16
                                              9-16       $21,424-O
                                                         $21,424-O                       OPEN         DELINQ
                                                                                         OPEN 2211CC211111
                                                                                                      DELINQ  30
                                                                                                              30
            3562A019732534
            2390446  DC  CHG REV       1      2-16
                                           7-07-10           $827
                                                               $0          $1,654
                                                                             7-10    11-13/1
                                                                                         (62)   9LL665432121C
            1132912 BI
            1132912  BI AUT
                         AUT 5959          2-28-17
                                       1 2-28-17         $19,814
                                                         $19,814             2-17
                                                                             2-17        ( 6)
                                                                                         (  6) 1CCCCC
                                                                                                1CCCCC
            525556601
            23802654388
            23802654388                      10-09           $400
                                                             $400 38         $400
                                                                             $400          43    CCCCCCCCCCCC
                                               34         37
       26 *BAY COMPANY                        6-05        $1,730-L         $2,437-H    BK7PET          CHARGOFF
            2390446  DC  CHG REV      32
                                       1   7-07-10             $0             41
                                                                             7-10        (62)   9LL665432121C
            EMPLOYEESBANK
          *MOUNTAIN
          *MOUNTAIN     CREDIT
                      BANK   27 UNION         6-12
                                             10-12
                                             10-12       $12,500-L
                                                         $43,337-O
                                                         $43,337-O       $10,659-H       OPEN      60CURR
                                                                                                   60  4+   ACCT
                                                                                                       4+ TIMES
                                                                                         OPEN CCCCCCCCCCCC TIMES
            525556601
       28 1220855    BC  CRC REV       2     10-09
                                           3-24-16             $0            3-16        (46)   0CCCCCCCCCCCC
            1119999  BI  SEC
            1119999 BI SEC 60  60          4-06-16
                                       2 4-06-16      35  $4,346
                                                          $4,346     39      4-16
                                                                             4-16    44  (42)   21-1C1C111CC2
                                                                                         (42) 21-1C1C111CC2
       33 5396258022578
            3562A019732534
            3562A019732534                36 10-15
                                              2-16
                                              2-16           $827
                                                        40 $827                      11-13/1 CCCCCCCCCCCC
                                                                           $1,654 45 11-13/1
                                                                      42 $1,654                   2211CC211111
H           EMPLOYEES29 CREDIT
                          30    UNION
                               31             6-12       $12,500-L       $10,659-H       OPEN 2211CC211111
                                                                                                     CURR ACCT
            1220855  BC
            HOMECOMPANY  CRC
                  FINANCIAL  REV       2   3-24-16
                                              7-12             $0            3-16        (46)   0CCCCCCCCCCCC
          *BAY
          *BAY   COMPANY
            5396258022578                     6-05 $275,000-O
                                              6-05
                                             10-15
                                                          $1,730-L
                                                          $1,730-L         $2,437-H
                                                                           $2,437-H      OPEN 46 CURR
                                                                                       BK7PET
                                                                                       BK7PET               ACCT
                                                                                                       CHARGOFF
                                                                                                       CHARGOFF
                                                                                                 CCCCCCCCCCCC
            5935250
            2390446  FM
                     DC  R/E
                         CHG 30Y
                             REV
            2390446 DC CHG REV         2
                                       1   1-31-16
                                           7-07-10
                                       1 7-07-10       $263,551$0
                                                               $0            1-16
                                                                             7-10
                                                                             7-10        (38)
                                                                                         (62)   C-CC-CCCCCCCC
                                                                                                9LL665432121C
                                                                                         (62) 9LL665432121C
            24000098500012
            525556601
            525556601                         1-16
                                             10-09
                                             10-09        $1,887                                 CCCCCCCCCCCC
                                                                                                 CCCCCCCCCCCC
       c    HOME  FINANCIAL
            MIN: 123456789012345678           7-12     $275,000-O                        OPEN        CURR ACCT
            5935250 FM R/E 30Y         2 1-31-16 $263,551                    1-16        (38) C-CC-CCCCCCCC
            EMPLOYEES
            EMPLOYEES CREDIT
                        CREDIT UNION
                                UNION         6-12
                                              6-12       $12,500-L
                                                         $12,500-L       $10,659-H
                                                                         $10,659-H 48 OPEN           CURR
                                                                                                     CURR ACCT
                                                                                         OPEN CCCCCCCCCCCC  ACCT
            24000098500012
            STATE  BANK                       1-16
                                             12-99        $1,887
                                                         $15,000-L         $8,479-H      OPEN         CURR ACCT
            1220855
            1220855  BC
                     BC  CRC
                         CRC REV
                             REV       2
                                       2   3-24-16
                                           3-24-16             $0
                                                               $0            3-16
                                                                             3-16        (46)
                                                                                         (46)   0CCCCCCCCCCCC
                                                                                                0CCCCCCCCCCCC
            MIN:  123456789012345678
            1299987  BC CRC REV        1 2-27-16          $2,123             2-16        (50)
            5396258022578
            5396258022578                    10-15
                                             10-15                                           47 CCCCCCCCCCCCC
                                                                                                 CCCCCCCCCCCC
                                                                                                 CCCCCCCCCCCC
            4271008232                        2-16           $100-A                               CCCCC000CCCC
            STATE  BANK
            PURCHASED                        12-99
                        PORTFOLIO FROM: SOUTHWEST        $15,000-L
                                                           BANK            $8,479-H      OPEN         CURR ACCT
            HOME
            HOME  FINANCIAL
                  FINANCIAL                   7-12
                                              7-12     $275,000-O
                                                       $275,000-O                        OPEN
                                                                                         OPEN        CURR
                                                                                                     CURR   ACCT
                                                                                                            ACCT
            1299987
            ABC      BC CRC
                 UTILITY     REV
                          COMPANY      1 2-27-16
                                              4-17        $2,123
                                                              UNK            2-16        (50) CCCCCCCCCCCCC
                                                                                         OPEN         CURR  ACCT
            5935250
            5935250  FM
                     FM  R/E
                         R/E 30Y
                             30Y       2
                                       2   1-31-16
                                           1-31-16     $263,551
                                                       $263,551              1-16
                                                                             1-16        (38)
                                                                                         (38)   C-CC-CCCCCCCC
                                                                                                C-CC-CCCCCCCC
            4271008232
            3591234  UT  UTI    1      1      2-16
                                           3-19-17           $100-A 49       3-17        (  1)  C CCCCC000CCCC
            24000098500012
            24000098500012                    1-16
                                              1-16        $1,887
                                                          $1,887                                 CCCCCCCCCCCC
                                                                                                 CCCCCCCCCCCC
      d     PURCHASED
            268A3B86C8  PORTFOLIO FROM: SOUTHWEST
                                              3-17         BANK
            MIN:
            MIN:  123456789012345678
                  123456789012345678

               ---------------------------------
               STATE                               INQUIRIES   ----------------------------------
               STATE BANK
                     BANK                  12-99
                                           12-99   $15,000-L
                                                   $15,000-L      $8,479-H
                                                                  $8,479-H     OPEN
                                                                               OPEN     CURR
                                                                                        CURR ACCT
                                                                                             ACCT
I              HEMLOCKS
               1299987  BC  CRC REV   1 01-05-17
                                         2-27-16  2313849
                                                     $2,123 DC      2-16       (50) CCCCCCCCCCCCC
               1299987 BC CRC REV     1 2-27-16      $2,123         2-16       (50) CCCCCCCCCCCCC
               BAY COMPANY
               4271008232               12-03-16
                                            2-16  2390446   DC
                                                       $100-A      $1,500 CHG REV    CCCCC000CCCC
               4271008232                   2-16       $100-A                        CCCCC000CCCC
               HILLSIDE BANK
               PURCHASED   PORTFOLIO    10-21-16
                                     FROM:        2240679
                                           SOUTHWEST  BANK  BC
               PURCHASED PORTFOLIO FROM: SOUTHWEST BANK

               --------------------------------- MESSAGES -----------------------------------
               *CONSUMER STATEMENT* 06& 01-20-2017
                ID FRAUD VICTIM ALERT: FRAUDULENT APPLICATIONS MAY BE SUBMITTED IN MY NAME
                OR MY IDENTITY MAY HAVE BEEN USED WITHOUT MY CONSENT TO FRAUDULENTLY
                OBTAIN GOODS OR SERVICES. DO NOT EXTEND CREDIT WITHOUT FIRST CONTACTING ME
J               PERSONALLY AND VERIFYING ALL APPLICATION INFORMATION AT DAY 555-555-5555 OR
                EVENING 555-555-5555. THIS VICTIM ALERT WILL BE MAINTAINED FOR SEVEN YEARS
                BEGINNING 01-20-24.

               CONSUMER ASSISTANCE CONTACT: EXPERIAN 50
               701 EXPERIAN PARKWAY, PO BOX 2002, ALLEN, TX 75013             888.397.3742




             END -- EXPERIAN

    Page 6 | Product sheet

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                                                                                                             Product sheet
                                                                                              Credit Profile Report


44. M
     onths reviewed indicates the total number of months     48 Two amounts may display. Indicates the account has a
    history has been maintained for the account.                 $12,500 (L)imit and the (H)ighest balance was $10,659.
45. M
     aximum delinquency and payment code represent           49 A
                                                                  ctual monthly payment is indicated by the “-A” directly
    the worst delinquency that occurred outside of the           after the monthly payment amount; represents the
    payment grid.                                                actual payment amount received by the lender for
46. Payment status comments reflect the payment history         that reporting period.
     of the account as of the balance date.                      Scheduled monthly payment is implied if there is no
                                                                 “-A”. This amount represents the scheduled monthly
47. Consumer’s payment history during the past 25 months        payment amount as reported by the lender for that
     beginning with the month represented by the balance         reporting period.
     date. The codes reflect the status of the account for
     each month and are displayed for balance reporting       d. Portfolio “Sold To:” or “Purchased From:” name.
     subscribers only:
                                                              Inquiries (I)
C Current.
                                                              Inquiries indicate that a Credit Profile Report was received
N C
   urrent account/Zero balance — no update tape              on that date by the subscriber listed. Inquiring subscriber
  received for this trade.                                    name, number and KOB are shown. Type, terms and amount
0 C
    urrent account/Zero balance — reported on                may display and are from the subscriber’s inquiry input.
   update tape.
1 30 days past the due date.
                                                              Messages (J)
                                                              The Messages section may include general consumer
2 60 days past the due date.                                  statements and informational or other special messages.
3 90 days past the due date.                                  Consumer statements relating to a tradeline or public
                                                              record item appear directly after the item.
4 120 days past the due date.
                                                              50 Name, address and telephone number of Experian’s
5 150 days past the due date.
                                                                  consumer assistance office or credit reporting agency
6 180 days past the due date.                                     nearest to the consumer’s current address. Use for
7 Chapter 13 Bankruptcy (Petitioned, Discharged,                consumer referrals. Display is elective; contact your
   Reaffirmation of debt rescinded).                              Experian sales representative.
8 Foreclosure proceeding, deed in lieu.
9 C
    hapter 7, 11 or 12 Bankruptcy (Petitioned, Discharged,
   Reaffirmation of debt rescinded).
G Collection H Foreclosure.
J Voluntary surrender K Repossession.
L Charge-off.
B Account condition change, payment code not applicable.
- (dash) No history reported for that month.
Blank No history maintained; see payment status comment




                                                                                                          Product sheet | Page 7

      CONFIDENTIAL                                                                           SANTOS-EXP002909
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        CONFIDENTIAL                                                                            SANTOS-EXP002910
